                                           Case 18-20210-rlj7                Doc 189   Filed 05/10/22 Entered 05/10/22 15:57:00                                    Desc Main
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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    18-20210                                                                                                                  Trustee Name:        (631700) Kent Ries
Case Name:       GALMOR'S/G&G STEAM SERVICE, INC.                                                                                      Date Filed (f) or Converted (c): 01/08/2019 (c)
                                                                                                                                       § 341(a) Meeting Date:       02/13/2019
For Period Ending:      05/10/2022                                                                                                     Claims Bar Date: 04/17/2019

                                                     1                                         2                              3                            4                      5                          6

                                             Asset Description                              Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                             Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                and Other Costs)                                                             Remaining Assets

    1       Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    2       Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    3       Checking Acct #14818                                                                    2,306.88                                0.00                                         130.51                           FA

    4       Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    5       Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    6       Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    7       Accounts Receivable                                                                           0.00                              0.00                                         561.60                           FA

    8       Office Furniture                                                                       10,000.00                          10,000.00                                               0.00                        FA

    9       Office Equipment                                                                       10,000.00                          10,000.00                                               0.00                        FA

    10      Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    11      Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    12      2009 Ford Pickup                                                                       10,000.00                          10,000.00                                        2,500.00                           FA

    13      Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    14      Asset lost during Chapter 11 case                                                             0.00                              0.00                                              0.00                        FA

    15      1997 Ford F350                                                                          1,200.00                           1,200.00                                        1,500.00                           FA

    16      2003 Chevy Silverado 1500                                                               2,100.00                           2,100.00                                          900.00                           FA

    17      2002 Dodge Ram 2500                                                                     3,000.00                           3,000.00                                        2,500.00                           FA

    18      1972 Ford Pickup                                                                            800.00                           800.00                                               0.00                        FA

    19      1989 Merrit Cattle Trailer                                                              5,000.00                           5,000.00                                        5,000.00                           FA

    20      2012 Dodge Challenger                                                                  42,000.00                          42,000.00                                       21,750.00                           FA

    21      2005 GMC Half Ton Truck                                                                37,000.00                          37,000.00                                        2,000.00                           FA
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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    18-20210                                                                                                                 Trustee Name:        (631700) Kent Ries
Case Name:       GALMOR'S/G&G STEAM SERVICE, INC.                                                                                     Date Filed (f) or Converted (c): 01/08/2019 (c)
                                                                                                                                      § 341(a) Meeting Date:       02/13/2019
For Period Ending:      05/10/2022                                                                                                    Claims Bar Date: 04/17/2019

                                                     1                                         2                             3                            4                      5                          6

                                             Asset Description                              Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                             Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                               and Other Costs)                                                             Remaining Assets

    22      1999 Cadillac                                                                            5,500.00                         5,500.00                                               0.00                        FA

    23      2005 Ford Excursion                                                                     20,000.00                        20,000.00                                               0.00                20,000.00

    24      2012 Stock Trailer                                                                       4,500.00                         4,500.00                                         3,000.00                          FA

    25      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    26      1997 Peterbilt Water Truck                                                              26,000.00                        26,000.00                                        19,500.00                          FA

    27      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    28      2012 Lincoln Navigator                                                                  25,000.00                        25,000.00                                               0.00                25,000.00

    29      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    30      Conveyor (VIN 2540)                                                                     39,000.00                        39,000.00                                        15,000.00                          FA

    31      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    32      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    33      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    34      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    35      Asset lost during Chapter 11 case                                                            0.00                              0.00                                              0.00                        FA

    36      Office Building in Elk City, Ok                                                        200,000.00                       174,573.28                                       135,000.00                          FA

   37*      Storage Building in Shamrock, Tx (See Footnote)                                         15,000.00                        15,000.00                                               0.00                        FA

    38      Galmor Family Limited Partnership Quarry claim                                         186,341.19                       186,341.19                                               0.00               186,341.19

    39      Galmor Family Limited Partnership Payroll claim                                        384,902.74                       384,902.74                                               0.00               384,902.74

    40      Galmor Family Limited Partnership Van claim                                             24,807.39                        24,807.39                                               0.00                24,807.39

    41      Galmor Family Limited Partnership Wage claim                                           500,000.00                       500,000.00                                               0.00               500,000.00

    42      Health Insurance refund (u)                                                                  0.00                              0.00                                         842.40                           FA
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:      18-20210                                                                                                                   Trustee Name:        (631700) Kent Ries
Case Name:       GALMOR'S/G&G STEAM SERVICE, INC.                                                                                         Date Filed (f) or Converted (c): 01/08/2019 (c)
                                                                                                                                          § 341(a) Meeting Date:       02/13/2019
For Period Ending:       05/10/2022                                                                                                       Claims Bar Date: 04/17/2019

                                                      1                                             2                            3                            4                      5                        6

                                              Asset Description                                  Petition/               Estimated Net Value           Property Formally         Sale/Funds              Asset Fully
                                   (Scheduled And Unscheduled (u) Property)                    Unscheduled          (Value Determined By Trustee,         Abandoned            Received by the        Administered (FA)/
                                                                                                  Values               Less Liens, Exemptions,        OA=§554(a) abandon.          Estate              Gross Value of
  Ref. #                                                                                                                   and Other Costs)                                                           Remaining Assets

    43       Insurance overpayment (u)                                                                       0.00                              0.00                                       2,419.70                         FA

    44       Equipment Overpayment (u)                                                                       0.00                              0.00                                         100.96                         FA

    45       2001 Ford F 250 (u)                                                                             0.00                         1,000.00                                          900.00                         FA

    46       1996 Ford F350 (u)                                                                              0.00                         1,000.00                                          900.00                         FA

    47       2005 Dodge Pickup (u)                                                                           0.00                         5,000.00                                        5,200.00                         FA

   47        Assets                Totals       (Excluding unknown values)                         $1,554,458.20                     $1,533,724.60                                    $219,705.17           $1,141,051.32


     RE PROP# 37           Owned by Trust, not the Debtor




         Major Activities Affecting Case Closing:
                                         Multiple adversaries in process. One (19-2006) to liquidate the family limited partnership; the Trustee has sold all the real estate. The second (20-
                                         2003) has been settled per announcement to Court 3/21/22. Motion to compromise and settlement agreement in process.

                                         Claims review and objections is in process.
                                         ASSET NOTES: Asset #'s 1-2, 4-6, 10-11, 13-14, 25, 27, 29, and 31-35 were scheduled in the prior Chapter 11, administered in that case and
                                         imported in error in the Chapter 7 case.




         Initial Projected Date Of Final Report (TFR):                        12/31/2021                             Current Projected Date Of Final Report (TFR):                       12/30/2022


              05/10/2022                                                                                               /s/Kent Ries

                  Date                                                                                                 Kent Ries
